                                   Case 2:22-cv-04498-GJP Document 1-1 Filed 11/10/22 Page 1 of 3

                                                         Exhibit A to the Complaint
Location: Norristown, PA                                                                             IP Address: 96.245.157.180
Total Works Infringed: 26                                                                            ISP: Verizon Fios
 Work      Hashes                                                               UTC          Site           Published    Registered   Registration
 1         Info Hash: 01BB889B19626055D4FECE1530514F55BBD5A467                      10-25-   Vixen          10-21-2022   11-01-2022   PA0002378075
           File Hash:                                                                2022
           C00FC070305CAC0AE9AD7729C2B54ABE7575BDFB54FA0ECA6588F455C808FC81       04:35:56
 2         Info Hash: A06A21906C5CCA79C85F7BFCFDB7C755910C4E10                      10-25-   Blacked        10-22-2022   10-31-2022   PA0002377820
           File Hash:                                                                2022
           471EBFF0B97DD8D5919A8670BD8F186FE5EAC62C4E7B7FBF24A5B3851ECC266C       00:57:23
 3         Info Hash: 74B8BD53BF12A2073D2A04B37C8826F13B140035                      10-15-   Blacked        10-11-2022   10-31-2022   PA0002377831
           File Hash:                                                                2022    Raw
           265667A7A9870996F1562624DE5604DE7F0088FA131250F48F2C710990CB611F       00:59:41
 4         Info Hash: 3FCB5EDC4F914B5E7E509A419779B9C41C106BED                      10-03-   Blacked        10-01-2022   10-31-2022   PA0002377817
           File Hash:                                                                2022
           64D9FA6D56DC2C9786A13DBC667D003150B4FA85671ED892B747B6486C35D61C       22:45:57
 5         Info Hash: E4F0C07AD7A557AD674372C5CD5C3379F38A787F                      10-03-   Vixen          09-30-2022   10-31-2022   PA0002377819
           File Hash:                                                                2022
           C163F6FAECDF8FB7ED91ABB35BAC6AA5F77EE0E6D81F2C5364A31E47F17BC6C9       22:32:58
 6         Info Hash: 3BA0D3954BC406710F062C5979ECD9BF8A91237F                      10-03-   Blacked        10-01-2022   10-31-2022   PA0002377811
           File Hash:                                                                2022    Raw
           B63705671B499FF06D1B96A11375F61E4779F02BDD1B90F8F602397FB45E1F1E       20:06:15
 7         Info Hash: 157E9DEC8478CE03D95457C161F12CCFA85E47F8                      10-01-   Tushy          06-28-2020   07-17-2020   PA0002248597
           File Hash:                                                                2022
           7624F083DC76268911A11B29890B94F9989788EC28B0FD5E57D927D17F24E2B4       04:38:31
 8         Info Hash: 96DA843941E4DF1BFB5BDBEE15FB51C89BD014F5                      09-21-   Tushy          09-18-2022   10-05-2022   PA0002373759
           File Hash:                                                                2022
           5B5EC41F7F569AA8471DB9E018862AA87CE1B0C377F6953DDF75FDE5B7AB0C1B       23:02:41
 9         Info Hash: 486C17ADFB8696EE12AA59B6213B64B4239E1FC2                      09-13-   Blacked        09-10-2022   10-05-2022   PA0002373949
           File Hash:                                                                2022
           9494958EE7DF6195DAC64545B57D3F1505F144BC4971D601DE12BAC3522C2CBE       05:36:05
 10        Info Hash: 8A5A466398568BE5972C507767930D7F8F5B37AA                      09-13-   Blacked        11-01-2018   11-25-2018   PA0002136644
           File Hash:                                                                2022
           056528E87248DB8C9FC9DC64036527838117EFD5149DD075B706CAFA8F8D1FDF       01:22:57
 11        Info Hash: AB4C8F6782155F94F25421BD73C0C84DEA95167E                      09-08-   Blacked        09-06-2022   10-05-2022   PA0002373770
           File Hash:                                                                2022    Raw
           FBCF6D53950FFB226F67470C3E92459585DB885A2D206CB1EC3152258DDD7DE9       18:44:48
                               Case 2:22-cv-04498-GJP Document 1-1 Filed 11/10/22 Page 2 of 3

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 27BAD7B7BAE709FD4CA2B613F532AC8C772E9F94                   09-06-   Blacked   09-03-2022   11-01-2022   PA0002378069
       File Hash:                                                             2022
       2923F3067E4BF3F47E62AF432F567D2D3C0ABB4A23A0F09C6EFD1DA39B577131    22:10:31
13     Info Hash: B6B3DC5C87C53BEBD0F5F455E3CF7308A1C85B4B                   09-05-   Vixen     09-02-2022   11-01-2022   PA0002378068
       File Hash:                                                             2022
       2368DA84A164610BA880B0F903ECE64219A9B6CAF2E841A8F04B5DDC9262C46E    13:48:13
14     Info Hash: 833570A3D59430A1FA1A36B2925603ED725FCAFE                   09-01-   Blacked   08-27-2022   10-31-2022   PA0002377814
       File Hash:                                                             2022    Raw
       7CE43443E2BB14B13117BCF00A80D69C72893089014D8AE81F7D9E0858D2B3B2    05:10:59
15     Info Hash: C50F90F5C52D0EF98AF8FCB8DFA605B3EA200FBF                   08-30-   Vixen     08-26-2022   10-05-2022   PA0002373767
       File Hash:                                                             2022
       FF3BC0768BBFC3B19053BD8540A326DAB4EEB760022FD41C7323A95403E824D6    01:29:24
16     Info Hash: 70D3E779D30678EB929E2EEF115D993F8973B5DD                   08-25-   Blacked   08-22-2022   08-30-2022   PA0002367731
       File Hash:                                                             2022    Raw
       C639BD8B3EC1C9F8B42A1214F12742C2C125AB9D2835CB4984F8191E5044A14F    02:13:21
17     Info Hash: 3E3F0031CED1C5C5EF641C97A3FAB41D92A5BD02                   08-22-   Vixen     08-19-2022   08-30-2022   PA0002367752
       File Hash:                                                             2022
       89E2C079CB49C28614DC8F984CD70CF6055013284DE8C15649D9B25E22749E93    17:02:35
18     Info Hash: B0CAA4D95994248141ED9615D6C60A0EF6719C74                   08-16-   Blacked   08-13-2022   08-30-2022   PA0002367729
       File Hash:                                                             2022
       DE6B5755622A8D5504757FB262D3BC59EAC0111811F6AD10DF462DFD9109566C    04:30:38
19     Info Hash: 7BF563B4F703F30A3EA277ED404C6F7E8DC9BA49                   08-11-   Blacked   08-08-2022   08-30-2022   PA0002367749
       File Hash:                                                             2022    Raw
       82194F9E0BA7E53546EC8BDF80B7B7899ACA230C8F95826FB3E17AB10A5EBCBE    04:37:27
20     Info Hash: 9E38D189E1245503E8D949FA71659D0EF9184334                   08-05-   Blacked   07-30-2022   08-30-2022   PA0002367742
       File Hash:                                                             2022
       E5D009BBC7C5791AE49D39A6DD5EE0B0C35C2C7A743DFB2C321D8129E308FDEB    00:52:52
21     Info Hash: 522106AD5C604CAA38EEB8C9E645BB89B7246439                   08-05-   Tushy     07-31-2022   08-30-2022   PA0002367738
       File Hash:                                                             2022
       E7E033B1618FD43B267E8CD0AF60A898EC2BEDA21372A6C5AE92760818965895    00:42:15
22     Info Hash: 9484E63C729B5E6DEAA1B2A31E98075B16D914A4                   07-19-   Tushy     07-17-2022   07-22-2022   PA0002359476
       File Hash:                                                             2022
       7378EBD3719E21C39E6A186B686DAB035587EBA3566D98DBDAF723BD309BF17C    21:58:28
23     Info Hash: 784C39E54E32FA8C96A54C475017FFDE7F48C39B                   07-19-   Blacked   07-16-2022   07-22-2022   PA0002359474
       File Hash:                                                             2022
       66BBD91EAA1BBE0F5265C9253176AD64FDDE965587CA162FB49DDF2E081F7755    21:56:01
                               Case 2:22-cv-04498-GJP Document 1-1 Filed 11/10/22 Page 3 of 3

Work   Hashes                                                             UTC       Site    Published    Registered   Registration
24     Info Hash: C44085C07C791D8342CD27FBFA50D418806F1A03                   07-17- Vixen   07-15-2022   07-22-2022   PA0002359477
       File Hash:                                                             2022
       075069C39BEB463B4D485C11FFD06CDB81C6265A0FD0885F8DD16EAF53A68680    16:44:13
25     Info Hash: 674B524FAFD7B1AAF922C49B78FD1C201BE620FF                   07-12- Vixen   07-08-2022   08-10-2022   PA0002370903
       File Hash:                                                             2022
       32CF7DE4D0D97CA7345FD583EF8460A1DA3FEA4DC48296095F438A352DF65FD1    20:29:02
26     Info Hash: DDF350312A2BD423AF62147F3BF6ADAED1492CC4                   07-12- Tushy   07-10-2022   07-22-2022   PA0002359469
       File Hash:                                                             2022
       81DF4D8A07F0EFCB6F4C11869DD86F8CC7AE49E1D24E4B61843A53683C366378    19:43:24
